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   8                        UNITED STATES DISTRICT COURT
   9                     SOUTHERN DISTRICT OF CALIFORNIA
  10   UNITED STATES OF AMERICA,                       Case No. 14cr0216-MMA-5
                                                                14cr0221-MMA-5
  11                       Plaintiff,
                                                       PRELIMINARY ORDER OF
  12          v.
                                                       CRIMINAL FORFEITURE
  13   ERIC ALLAN GUFFIN (5),
  14                       Defendant.
  15
  16
             WHEREAS, in the Superseding Indictments and Bills of Particulars in the
  17
       above-captioned cases, the United States sought forfeiture of all right, title and
  18
       interest in specific properties of the above-named Defendant, ERIC ALLAN
  19
       GUFFIN (5) (“Defendant”), pursuant to Title 21, United States Code, Section 853,
  20
       Title 18, United States Code, Section 924(d) and Title 28, United States Code,
  21
       Section 2461(c), as charged in the Superseding Indictments; and
  22
             WHEREAS, on or about August 13, 2015, Defendant pleaded guilty before
  23
       Magistrate Judge Karen S. Crawford to Counts 1 and 23 of the Superseding
  24
       Indictment in 14cr0216-MMA, and to Count 1 of the Superseding Indictment in
  25
       14cr0221-MMA, and which guilty pleas included consents to the forfeiture
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       allegations of the respective Superseding Indictments, specifically, “forfeiture of all
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       property constituting and derived from proceeds obtained as a result of the violations,
  28
       and all property used and intended to be used to commit and to facilitate the
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   1 commission of the offenses,” and “all firearms and ammunition involved in the
   2 offenses,” which guilty pleas include forfeiture of the following:
   3               1.   One Lorcin .380 caliber semi-automatic handgun with
            Serial number 124564,
   4
                 2.   One Taurus Millennium Pro PT145 with serial number
   5        NXC58974, seized from the residence of Defendant Eric Allan Guffin,
            4917 Ardmore Drive, San Diego, California, and
   6
                  3.     That real property located at 3917 Ardmore Drive,
   7        San Diego, CA 92111, and all appurtenances affixed thereto. The real
            property is more particularly described as:
   8
                          ASSESSOR’S PARCEL NO. 420-130-21-00
   9
            LOT 405 OF VISTA MESA ANNEX UNIT NO. 5, IN THE CITY OF
  10        SAN DIEGO, COUNTY OF SAN DIEGO, STATE OF CALIFORNIA,
            ACCORDING TO MAP THEREOF NO. 4179, FILED IN THE
  11        OFFICE OF THE COUNTY RECORDER OF SAN DIEGO COUNTY,
            MAY 13, 1959; and
  12
  13        WHEREAS, on September 3, 2015, this Court accepted the guilty pleas of
  14 Defendant in both cases; and
  15        WHEREAS, by virtue of the facts set forth in the plea agreement, the
  16 United States has established the requisite nexus between the forfeited properties and
  17 the offenses of conviction; and
  18        WHEREAS, by virtue of said guilty pleas, the United States is now entitled to
  19 possession of the above-referenced properties, pursuant to 21 U.S.C. § 853, 18 U.S.C.
  20 § 924(d), 28 U.S.C. § 2461(c) and Rule 32.2(b) of the Federal Rules of Criminal
  21 Procedure; and
  22        WHEREAS, pursuant to Rule 32.2(b), the United States having requested the
  23 authority to take control of the above-referenced properties which were found
  24 forfeitable by the Court; and
  25        WHEREAS, the San Diego Police Department has custody and control of the
  26 firearms: One Lorcin .380 caliber semi-automatic handgun with Serial number
  27 124564, and One Taurus Millennium Pro PT145 with serial number NXC58974; and
  28
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   1        WHEREAS, the United States, having submitted the Order herein to the
   2 Defendant through his attorney of record to review, and no objections having been
   3 received;
   4        Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
   5        1.     Based upon the guilty pleas of the Defendant, all right, title and interest
   6 of Defendant ERIC ALLAN GUFFIN (5) in the following firearms are hereby
   7 forfeited to the United States: One    Lorcin .380 caliber semi-automatic handgun
   8 with Serial number 124564, and One Taurus Millennium Pro PT145 with serial
   9 number NXC58974, pursuant to Title 21, United States Code, Section 853, Title 18,
  10 United States Code, Section 924, and Title 28, United States Code, Section 2461(c).
  11        IT IS FURTHER ORDERED that because the firearms are in the possession of
  12 the San Diego Police Department, no ancillary proceedings are required as to these
  13 firearms and the San Diego Police Department shall dispose of them according to
  14 law.
  15        2.     Based upon the guilty pleas of the Defendant, all right, title and interest
  16 of Defendant ERIC ALLAN GUFFIN (5) in the real property located at 3917
  17 Ardmore Drive, San Diego, CA 92111, and all appurtenances affixed thereto, is
  18 forfeited to the United States pursuant to Title 21, United States Code, Section 853.
  19 The real property is more particularly described as:
  20                      ASSESSOR’S PARCEL NO. 420-130-21-00
  21        LOT 405 OF VISTA MESA ANNEX UNIT NO. 5, IN THE CITY OF
            SAN DIEGO, COUNTY OF SAN DIEGO, STATE OF CALIFORNIA,
  22        ACCORDING TO MAP THEREOF NO. 4179, FILED IN THE
            OFFICE OF THE COUNTY RECORDER OF SAN DIEGO COUNTY,
  23        MAY 13, 1959.
  24        3.     Pursuant to Rule 32.2(b) and (c), the United States is hereby authorized
  25 to begin proceedings as to the real property consistent with any statutory
  26 requirements pertaining to ancillary hearings and rights of third parties. The Court
  27 shall conduct ancillary proceedings as the Court deems appropriate only upon the
  28 receipt of timely third party petitions filed with the Court and served upon the
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   1 United States. The Court may determine any petition without the need for further
   2 hearings upon the receipt of the Government’s response to any petition. The Court
   3 may enter an amended order without further notice to the parties.
   4         4.     Pursuant to the Attorney General’s authority under Section 853(n)(1) of
   5 Title 21, United States Code, Rule 32.2(b)(6), Fed. R. Crim. P., and Rule G(4) of the
   6 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
   7 the United States forthwith shall publish for thirty (30) consecutive days on the
   8 Government’s forfeiture website, www.forfeiture.gov, notice of this Order, notice of
   9 the United States’ intent to dispose of the real property in such manner as the
  10 Attorney General may direct, and notice that any person, other than the Defendant,
  11 having or claiming a legal interest in the real property must file a petition with the
  12 Court within thirty (30) days of the final publication of notice or of receipt of actual
  13 notice, whichever is earlier.
  14         5.     This notice shall state that the petition shall be for a hearing to
  15 adjudicate the validity of the petitioner's alleged interest in the real property, shall be
  16 signed by the petitioner under penalty of perjury, and shall set forth the nature and
  17 extent of the petitioner's right, title or interest in the forfeited real property and any
  18 additional facts supporting the petitioner's claim and the relief sought.
  19         6.     The United States may also, to the extent practicable, provide direct
  20 written notice to any person known to have alleged an interest in the real property, as
  21 a substitute for published notice as to those persons so notified.
  22         7.     Upon adjudication of all third-party interests, this Court will enter an
  23 Amended Order of Criminal Forfeiture pursuant to 21 U.S.C. § 853(n) as to the
  24 forfeited real property, in which all interests will be addressed.
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  26 //
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   1        8.     Pursuant to Rule 32.2(b)(4), this Order of Forfeiture shall be made final
   2 as to the Defendant in both Cases 14cr0216-MMA and 14cr0221-MMA at the time of
   3 sentencing, and is part of the sentence and included in the judgments.
   4        IT IS SO ORDERED.
   5 DATED: November 10, 2015
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                                      HON. MICHAEL M. ANELLO
   7                                  United States District Judge
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